Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 1 of 18                     PageID #: 291




                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE



DARIEN HARRIS,

                      Plaintiff,

       v.                                                    Case No. 1:19-cv-00346-LEW

TERRY SCOTT DRAKE, et al.,

                      Defendants.



                 DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                  WITH INCORPORATED MEMORANDUM OF LAW

       Pursuant to Fed. R. Civ. P. 56, Defendants Anthony Cantillo, Terry Scott Drake,

Jeremiah Manning, Christian Melquist, and Troy Ross move for summary judgment in their

favor on Plaintiff’s claim related to the alleged unsanitary conditions of his confinement while on

a constant contraband watch. There are no issues of material fact, and Defendants are entitled to

judgment as a matter of law.

       Plaintiff commenced this suit on or about July 25, 2019, asserting a variety of claims

against 11 named defendants. (ECF 1.) In response to a motion to dismiss, the Court dismissed

all claims based “on the grievance procedure, and the alleged threats, strip search[,] and false

report” and all claims based on “supervisory liability” and those seeking “permanent injunctive

relief.” (ECF 20 at 19; ECF 24 at 1.) Plaintiff was permitted to “proceed only on his Eighth

Amendment claim against Defendants Ross, Cantillo, Melquist, Manning, and Drake for

subjecting him to unsanitary conditions of confinement.” (ECF 24 at 1-2 (emphasis added).)




                                                1
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 2 of 18                    PageID #: 292




       Plaintiff’s remaining claim is based on the time he spent on a constant contraband watch

from September 5, 2018, to September 13, 2018. During a search of Harris’s person for drugs, a

corrections officer witnessed Plaintiff turn around and away from the officers and take

something from his belly button, put it in his mouth, and swallow it. Plaintiff was then removed

from his cell and taken to a dry cell in the Special Management Unit (SMU) for a constant

contraband watch. This was not Plaintiff’s first contraband watch; Plaintiff had been on a

contraband watch in January of 2018 on suspicion of drug trafficking.

       Defendants are entitled to summary judgment for two reasons. First, Defendants did not

violate Plaintiff’s constitutional rights because Plaintiff was not subject to inhumane conditions

or deliberately indifferent to Plaintiff’s requests. Although Plaintiff claims he was kept in

unsanitary conditions in September of 2018, the undisputed facts show that Harris’s dry cell in

the SMU was clean, he was provided with a clean mattress, sheet, and boxer shorts and

replacements for these items upon his request, and he was able to and did wash his hands.

Plaintiff never requested a shower or otherwise informed Defendants that his body or boxer

shorts were soiled with his own waste, nor is there any contemporaneous documentation

corroborating Plaintiff’s claim.

       Moreover, and even assuming arguendo that any Defendant violated Plaintiff’s

constitutional rights based on the conditions of his confinement, Defendants are entitled to

qualified immunity from Plaintiff’s claims. It was not clearly established that the conditions

Plaintiff alleges to have experienced on contraband watch were unconstitutional, and an

objectively reasonable corrections officer would not have known that his conduct violated the

law. Consequently, Defendants should be granted summary judgment on Plaintiff’s Eighth

Amendment claim.




                                                2
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 3 of 18                   PageID #: 293




       Second, Defendants are entitled to summary judgment on Plaintiff’s claim for

compensatory and punitive damages, as Plaintiff did not sustain a physical injury in this matter.

Because federal law bars the recovery of compensatory damages in actions filed by prisoners

without proof of physical injury, Defendants move for summary judgment on Plaintiff’s claims

for damages.

                                   SUMMARY OF FACTS

       Darrien Harris was incarcerated at the Maine State Prison from June 20, 2017, to August

12, 2020. (Defendants’ Statement of Material Facts (hereinafter, “DSMF”) ¶ 1.) On September

5, 2018, Harris was housed in the 500 Unit of the prison. (DSMF ¶ 7.) That morning, Harris

was strip-searched in an attempt to recover contraband, i.e., illegal drugs, from his person.

(DSMF ¶¶ 8-9.) Officers suspected Harris trafficked drugs and hid them in his mouth or in his

belly button. (DSMF ¶ 13.) During the strip search, when officers asked to see Harris’s belly

button, Harris turned toward the back of the cell. (DSMF ¶ 9.) Officers saw in the window

reflection that Harris removed something from his belly button, put it into his mouth, and

swallowed it. (DSMF ¶ 9.) Officers believed this object was illegal drugs. (DSMF ¶ 9.)

       Harris was then placed on a constant contraband watch and moved to cell on the third

floor of the SMU at the prison. (DSMF ¶ 10.) Harris was on contraband watch in the SMU from

September 5, 2018, to September 13, 2018. (DSMF ¶ 12.)

       Harris’s 8 days on contraband watch in September of 2018 was Harris’s second

contraband watch. (DSMF ¶ 81.) Harris had been on a constant contraband watch for 6 days in

January of 2018 because officers again suspected Harris was trafficking in drugs. (DSMF ¶ 82.)

On January 13, 2018, Harris and a female visitor were observed making suspicious mouth

movements during a kiss that were consistent with passing drugs for trafficking in the prison.




                                               3
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 4 of 18                     PageID #: 294




(DSMF ¶ 83.) No contraband was recovered from Harris as a result of the January 2018

contraband watch, but Harris was viewed as being very knowledgeable in ways of “beating” the

watch, i.e., knowing how to keep contraband hidden. (DSMF ¶¶ 85-86.)

       The goal of a contraband watch is to recover the hidden or ingested contraband. Inmates

on a contraband watch are placed in a cell with a large observation window and observed 24

hours a day. (DSMF ¶ 14.) During a contraband watch, there is one officer on duty at all times

whose only responsibility it is to observe the inmate at all times. (DSMF ¶ 16.) That officer is

called the constant watch officer. (DSMF ¶ 16.) The constant watch officer keeps a log of all

the inmate’s activities and records them at least every 15 minutes. (DSMF ¶ 17.)

       Harris arrived in the SMU and was placed in a clean cell, where he was seen and cleared

by medical personnel. (DSMF ¶¶ 15, 19, 26.) The cell contained a bench and a mattress, but it

was a dry cell, meaning it cell did not have a toilet, sink, or running water. (DSMF ¶ 20, 26.)

Inmates on contraband watch are placed in a dry cell in order to prevent disposal of any

contraband in a toilet or in a sink. (DSMF ¶ 21.) Similarly, inmates on contraband watch are not

permitted to shower so they cannot dispose of contraband in the shower water or down the drain.

(DSMF ¶ 22.) The excrement of inmates on contraband watch is searched for contraband.

(DSMF ¶ 23.)

       Inmates on contraband watch are allowed a sheet, a mattress, and a pair of boxer shorts

and provided fresh replacements of these items on request. (DSMF ¶¶ 24-25.) The inmate is

responsible for requesting fresh items. (DSMF ¶ 25.) Harris was provided with all these items

when he started his contraband watch, (DSMF ¶¶ 26, 29-30, 35), and he received replacements

of all of these items while he was on contraband watch, (DSMF ¶¶ 26-28, 32).




                                               4
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 5 of 18                       PageID #: 295




       Harris also received medical services while he was on contraband watch in the SMU.

(DSMF ¶¶ 33-38.) The treatment and progress notes from those medical services include no

complaints from Harris about the cleanliness of his cell or his clothing. (DSMF ¶¶ 33-38.)

Harris received three meals a day at regular intervals like all other prisoners; Harris ate his meals

outside the dry cell. (DSMF ¶¶ 40-43.) Harris was provided with drinking water upon request.

(DSMF ¶ 44.) Harris was also allowed to and did in fact wash his hands. (DSMF ¶¶ 60-62.)

       Most of the Defendants in this case had little to no interaction with Harris while he was

on contraband watch and were not personally involved in making decisions regarding the

conditions of his confinement. None of the Defendants served as the constant watch officer

during Harris’s contraband watch (DSMF ¶ 76), and Defendants Cantillo, Drake, Melquist, and

Ross were not assigned to the SMU or responsible for the conditions of Harris’s confinement

(DSMF ¶ 75). Defendants Drake, Melquist, and Ross did not meet with Harris or see Harris

while he was on contraband watch and do not recall ever having a conversation with him.

(DSMF ¶¶ 77-78.) Defendant Cantillo saw Harris only once during Harris’s contraband watch in

an encounter that lasted less than 5 minutes. (DSMF ¶¶ 45-47.) Harris did not make any

complaints to Defendants Cantillo, Drake, Melquist, and Ross regarding the conditions of his

confinement while Harris was on contraband watch, and Defendants Cantillo, Drake, Melquist,

and Ross were not aware of any alleged insufficiencies in Harris’s treatment. (DSMF ¶¶ 79-80.)

       Sergeant Manning was on duty at the SMU and present at the prison on 4 days of Harris’s

contraband watch. (DSMF ¶¶ 48-50.) Sergeant Manning saw Harris periodically during his

shifts, including when he escorted Harris to the bathroom. (DSMF ¶ 50.) Whenever Sergeant

Manning saw Harris in his cell, the cell was clean, Harris had a mattress and a sheet, and he was

wearing boxer shorts. (DSMF ¶¶ 51-52.) Sergeant Manning never saw human excrement in




                                                 5
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 6 of 18                    PageID #: 296




Harris’s cell or on the cell walls, and the constant watch log does not include a notation that

Harris’s cell was unsanitary or that it contained human waste. (DSMF ¶¶ 52-54.)

       Every time Harris informed MDOC staff that he had to urinate or defecate, he was placed

in four-point restraints, removed from the constant watch cell, and escorted to the bathroom.

(DSMF ¶¶ 55-56.) The bathroom also contained a portable toilet, similar to those used in

hospitals; Harris was only allowed to use the portable toilet and was provided with toilet paper.

(DSMF ¶¶ 56-57.) An officer searched Harris’s excrement for contraband. (DSMF ¶ 58.)

       Sergeant Manning never saw excrement in Harris’s boxer shorts or saw Harris not utilize

the toilet paper provided. (DSMF ¶ 59.) Harris did not tell Sergeant Manning that his body or

boxer shorts were soiled with excrement, nor is there any such notation in the constant watch log.

(DSMF ¶¶ 64-65.) Harris did not ask Sergeant Manning if he could shower or make a request

for a shower to Sergeant Manning, nor did Harris complain about the temperature. (DSMF

¶¶ 63, 67-68; see also DSMF ¶ 11 (describing temperature controls of SMU).)

       Harris remained on contraband watch until September 13, 2018, and he returned to the

500 Unit. (DSMF ¶ 68.) Upon his return to the 500 Unit, Harris did not report a physical injury

or request any medical services for any alleged physical injury related to the contraband watch.

(DSMF ¶¶ 69-74.)

                           SUMMARY JUDGMENT STANDARD

       “Summary judgment is appropriate when there is no genuine issue of material fact and

the moving party is entitled to judgment as a matter of law.” Cortes-Rivera v. Dep’t of Corr. &

Rehab. of Commonwealth of P.R., 626 F.3d 21, 26 (1st Cir. 2010). A non-moving party may

“defeat a summary judgment motion by demonstrating, through submissions of evidentiary

quality, that a trialworthy issue persists.” Iverson v. City of Boston, 452 F.3d 94, 98 (1st Cir.




                                                6
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 7 of 18                     PageID #: 297




2006). A nonmovant, however, “cannot rely on speculation to avoid summary judgment.”

Medina-Rivera v. MVM, Inc., 713 F.3d 132, 136 (1st Cir. 2013); see also Ahern v. Shinseki, 629

F.3d 49, 58 (1st Cir. 2010) (“Conclusions that rest wholly on speculation are insufficient to

defeat a motion for summary judgment.”).

                                         ARGUMENT

I.     Defendants Did Not Violate Plaintiff’s Constitutional Rights and Defendants Are
       Nevertheless Entitled to Qualified Immunity on Plaintiff’s § 1983 Claim.

       Plaintiff Harris asserts a claim against Defendants pursuant to 42 U.S.C. § 1983, alleging

that Defendants violated his Eighth Amendment Rights by failing to provide sanitary

confinement conditions during his 8-day contraband watch. First, Defendants did not violate

Plaintiff’s constitutional rights, and even assuming arguendo that Defendants’ actions fell below

the constitutional norm, Defendants are entitled to qualified immunity from Plaintiff’s claims.

       In a § 1983 claim, a government official may raise the defense of qualified immunity to

seek “protection from civil damages liability for actions taken under color of state law.” Gray v.

Cummings, 917 F.3d 1, 9 (1st Cir. 2019). When such a defense is raised, the government official

is entitled to qualified immunity “when his actions, though causing injury, did not violate clearly

established statutory or constitutional rights of which a reasonable person would have known.”

Id. at 10 (quotation marks omitted). The protection afforded by qualified immunity “attaches to

all but the plainly incompetent or those who knowingly violate the law.” Id. at 9-10 (quotation

marks omitted).

       To determine whether a government official is entitled to qualified immunity, a court

must engage in a two-part analysis: “The court must determine whether the defendant violated

the plaintiff’s constitutional rights and then must determine whether the allegedly abridged right

was clearly established at the time of the defendant’s claimed misconduct.” Id. at 10 (quotation



                                                7
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 8 of 18                     PageID #: 298




marks omitted). The second part of the qualified immunity analysis has two components:

       First, the plaintiff must identify either controlling authority or a consensus of
       cases of persuasive authority sufficient to send a clear signal to a reasonable
       official that certain conduct falls short of the constitutional norm. Second, the
       plaintiff must demonstrate that an objectively reasonable official in the
       defendant’s position would have known that his conduct violated that rule of law.

Gray, 917 F.3d at 9-10 (cleaned up).

       The Eighth Amendment guarantees an individual the right to be free from cruel and

unusual punishment. U.S. Const. amend. VIII; see Ingraham v. Wright, 430 U.S. 651, 664-71

(1977) (discussing the history and parameters of the Eighth Amendment’s prohibition on cruel

and unusual punishment). However, not every governmental action affecting the interests or

well-being of a prisoner is subject to Eighth Amendment protections. Whitley v. Albers, 475

U.S. 312, 319 (1986). It is well-established that “[a]fter incarceration, only the ‘unnecessary and

wanton infliction of pain,’ constitutes cruel and unusual punishment forbidden by the Eighth

Amendment.” Ingraham, 430 U.S. at 670 (quoting Estelle v. Gamble, 429 U.S. 97, 103 (1976)

(citation omitted)); see also Whitley v. Albers, 475 U.S. 312, 319 (1986) (“It is obduracy and

wantonness, not inadvertence or error in good faith, that characterize the conduct prohibited by

the Cruel and Unusual Punishments Clause.”). In general, a plaintiff may assert a claim under

the Eighth Amendment “by challenging either: (1) the deliberate indifference to serious medical

need; (2) the specific conditions of confinement; or (3) the excessive use of force.” McNeeley v.

Wilson, 649 F. App’x 717, 721 (11th Cir. 2016) (unpublished).

       “[T]he Constitution does not mandate comfortable prisons.” Rhodes v. Chapman, 452

U.S. 337, 349 (1981). The Eighth Amendment is only violated by those deprivations which deny

“the minimal civilized measure of life’s necessities,” id. at 347, which means that inmates must




                                                8
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 9 of 18                       PageID #: 299




not be deprived of “basic human needs—e.g., food, clothing, shelter, medical care, and

reasonable safety.” Helling v. McKinney, 509 U.S. 25, 32 (1993).

       In order to establish a constitutional violation, a plaintiff's claim must meet both objective

and subjective criteria. Farmer v. Brennan, 511 U.S. 825, 834 (1994).

       First, the plaintiff must establish that, from an objective standpoint, the conditions
       of his confinement deny him the minimal measure of necessities required for
       civilized living. Second, the plaintiff must show that, from a subjective
       standpoint, the defendant was deliberately indifferent to inmate health or safety.
       Deliberate indifference, in this sense, is a mental state akin to criminal
       recklessness.

Surprenant v. Rivas, 424 F.3d 5, 18–19 (1st Cir. 2005) (citing Farmer, 511 U.S. at 834, 836-37).

“[A] prison official may be held liable under the Eighth Amendment for denying humane

conditions of confinement only if he knows that inmates face a substantial risk of serious harm

and disregards that risk by failing to take reasonable measures to abate it.” Farmer, 511 U.S. at

847.

       In this matter, the Defendants are entitled to summary judgment in their favor on

Plaintiff’s claims, as Defendants’ actions did not violate Plaintiff’s constitutional rights under the

Eighth Amendment.        Nevertheless, even assuming arguendo that Defendant did violate

Plaintiff’s constitutional rights, Defendants would be entitled to qualified immunity, as the

conditions of confinement Harris alleges he faced did not violate any clearly established law

relating to the application of the Eighth Amendment.

       A.      Harris suffered no Eighth Amendment violation while on contraband watch.

       Harris claims that the conditions he experienced on contraband watch violated the Eighth

Amendment, specifically alleging that his cell was cold and unclean, he could not maintain his

personal hygiene, and that he was denied clean bedding, showers, and clean clothing. (ECF 1 at

¶¶ 3-5, 7-8, 11.) The undisputed facts show, however, that Harris was placed in a clean constant



                                                  9
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 10 of 18                     PageID #: 300




watch cell that was not unsanitary or covered in any human fluids or excretions. (DSMF ¶¶ 15,

52-53.) There is no contemporaneous documentation showing that the cell was cold or became

unclean or unsanitary at any point during Harris’s contraband watch, and Harris himself was

taken out of the cell to eat, urinate, and defecate. (DSMF ¶¶ 41, 52-53, 55, 67.)

       Harris was provided with a mattress, a sheet, and a pair of boxer shorts and replacements

of these items on request. (DSMF ¶¶ 26-30, 32, 35.) Although Harris was not allowed to

shower while on contraband watch, that was because of the risk that he would dispose of

contraband in the shower water or down the drain. (DSMF ¶ 22.) Harris may have been

uncomfortable from the lack of shower, but Harris was permitted to and did in fact wash his

hands after using the bathroom. (DSMF ¶¶ 60-62.) Farmer, 511 U.S. at 837 (“The Eighth

Amendment does not outlaw cruel and unusual ‘conditions’; it outlaws cruel and unusual

‘punishments.’”). Moreover, Harris was provided with food, water, and medical attention while

on contraband watch. (DSMF ¶¶ 33-44.)

       In sum, these conditions do not constitute cruel and unusual punishment or conditions

“contrary to current standards of decency for anyone to be exposed against his will.” Helling v.

McKinney, 509 U.S. 25, 35 (1993); Centeno v. Wilson, No. 1:08–CV–1435–FJM, 2011 WL

836747, *3 (E.D. Cal. Mar. 4, 2011), aff’d, 479 Fed. App’x. 101 (9th Cir. 2012) (“Plaintiff

contends that . . . he was forced to sleep on a cold floor without a mattress or blanket for 7 days

and was unable to shower while in [contraband watch] confinement[. T]he living conditions

experienced by plaintiff for this limited duration were not so extreme as to violate contemporary

standards of decency and rise to the level of a constitutional deprivation” when he “received

adequate food, clothing, shelter, and medical care while in [contraband watch] confinement”);

Raybon v. Totten, No. 2:12-cv-1008-GEB-EFB P, 2014 WL 3867433, *5 (E.D. Cal. Aug. 6,




                                                10
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 11 of 18                            PageID #: 301




2014), adopted, 2014 WL 4656202 (E.D. Cal. Sep. 16, 2014) (“Because there is no evidence that

the conditions of confinement during plaintiff’s sixteen day stay on [contraband watch] posed an

excessive risk to his health or safety, plaintiff has necessarily failed to establish that [defendants]

knew of and disregarded such a risk.”).

          B.      Defendants Cantillo, Drake, Melquist, and Ross had no knowledge of or
                  involvement with the conditions Harris faced during the contraband watch.

          The Supreme Court has held that

          a prison official cannot be found liable under the Eighth Amendment for denying
          an inmate humane conditions of confinement unless the official knows of and
          disregards an excessive risk to inmate health or safety; the official must both be
          aware of facts from which the inference could be drawn that a substantial risk of
          harm exists, and he must also draw the inference.

Farmer, 511 U.S. at 837. Here, the undisputed facts demonstrate that the conduct of Cantillo,

Drake, Melquist, and Ross did not violate Plaintiff’s constitutional rights because they were not

aware of the conditions of Harris’s confinement and therefore did not disregard any risk of harm.

          The record shows the following with respect to these defendants: they had either no

interaction or a single interaction with Harris during his contraband watch;1 they were not

assigned to the SMU during Harris’s contraband watch and did not serve as the constant watch

officer; they were not aware of any insufficiencies in his treatment; they did not receive any

complaints from Harris regarding the sanitation of his cell or other conditions of his

confinement; they were not personally responsible for the conditions Harris experienced on

contraband watch; and Harris suffered no physical injury as a result of his contraband watch.

(DSMF ¶¶ 75-80.) Because Cantillo, Drake, Melquist, and Ross were not involved in Harris’s

contraband watch and were not aware of the specific conditions of his confinement, they are

entitled to summary judgment because they did not violate any constitutional right of the


1
    Cantillo’s only interaction with Harris while he was on contraband watch was less than 5 minutes.


                                                     11
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 12 of 18                  PageID #: 302




Plaintiff. See Morisette v. Peters, 45 F.3d 1119, 1122-23 (7th Cir. 1995) (affirming summary

judgment when plaintiff “presented no evidence any of the defendants were even remotely aware

of the conditions in his cell”).

        Similarly, because Cantillo, Drake, Melquist, and Ross were not involved in Harris’

contraband watch, they are likewise entitled to qualified immunity. See Lakin v. Barnhart, 758

F.3d 66, 72 (1st Cir. 2014) (prison officials entitled to qualified immunity when “no reasonable

jury” could determine plaintiff’s Eighth Amendment rights were violated); McNeill v. Melvin,

No. 5:12-CT-3169-FL, 2014 WL 4701592, at *7 (E.D.N.C. Sept. 22, 2014) (holding defendants

entitled to qualified immunity when plaintiff did “not produce[] any evidence to show that any

defendant knew of and disregarded any unsanitary cell condition”).

        C.      Defendant Manning did not violate Harris’s Eighth Amendment rights nor
                was he deliberately indifferent to Harris’s needs.

        Defendant Manning did work in the SMU, but only on four days during Harris’s

contraband watch. (DSMF ¶¶ 48-50.) During his shifts, Sergeant Manning did not observe or

subject Harris to any conditions that denied Harris “the minimal measure of necessities required

for civilized living.” Suprenant, 424 F.3d at 18-19. Sergeant Manning saw Harris periodically

during his shifts, including when he escorted Harris to the bathroom. (DSMF ¶ 50.) Whenever

Sergeant Manning saw Harris in his cell, the cell was clean, Harris had a mattress and a sheet,

and he was wearing boxer shorts. (DSMF ¶¶ 51-52.) Sergeant Manning never saw human

excrement in Harris’s cell or on the cell walls, and the constant watch log does not include a

notation that Harris’s cell was unsanitary or that it contained human waste. (DSMF ¶¶ 52-54.)

        Sergeant Manning never saw excrement in Harris’s boxer shorts or saw Harris not utilize

the toilet paper provided.         (DSMF ¶ 59.)    Sergeant Manning always offered Harris the

opportunity to wash his hands after using the bathroom. (DSMF ¶¶ 60-61.) These facts show



                                                  12
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 13 of 18                   PageID #: 303




that Sergeant Manning did not observe or participate in any Eighth Amendment violation when

he was on shift.

       Moreover, Sergeant Manning was not deliberately indifferent to Harris’s condition or his

safety. See, e.g., Wilson v. Seiter, 501 U.S. 294 (1991) (to transgress the eighth amendment in a

prison context, the offending conduct must constitute “deliberate indifference” to the inmate's

rights). The facts show that Harris never told Sergeant Manning that his body or boxer shorts

were soiled with excrement, nor is there any such notation in the constant watch log. (DSMF

¶¶ 64-65.) If he had done so, Sergeant Manning would have provided Harris with fresh boxer

shorts because Sergeant Manning has never denied an inmate, including Harris, a request for a

replacement sheet, mattress, or pair of boxer shorts. (DSMF ¶ 51.) Similarly, if Harris’s cell

was or had become unclean or unsanitary at any time, it would have been cleaned. (DSMF

¶¶ 52-53.)

       Further, Harris did not ask Sergeant Manning if he could shower or make a request for a

shower to Sergeant Manning, nor did Harris complain about the temperature. (DSMF ¶¶ 63, 67-

68; see also DSMF ¶ 11 (describing temperature controls of SMU).) The constant watch log

likewise contains no notation or indication that Harris complained about the temperature or

requested to shower. (DSMF ¶ 65.)

       Because Defendant Manning did not purposefully deny Plaintiff any minimum necessity

of life, such as food, shelter, medical care, and because Plaintiff did not request anything from

Defendant Manning, Plaintiff cannot establish that Defendant acted with deliberate indifference.

See Farmer, 511 U.S. at 845 (“Whether one puts it in terms of duty or deliberate indifference,

prison officials who act reasonably cannot be found liable under the Cruel and Unusual

Punishments Clause.”).




                                               13
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 14 of 18                      PageID #: 304




       D.      Any violation of Plaintiff’s rights was not clearly established.

       In the second aspect of the qualified immunity analysis, the Court must determine

“whether the allegedly abridged right was ‘clearly established’ at the time of the defendant’s

claimed misconduct.” Gray, 917 F.3d at 10 (quotation marks omitted). Even assuming Harris

faced the conditions he claims to have faced for a brief eight days (cold, dirty, un-sanitized cell,

with dried bodily fluids on the walls), those conditions did not clearly establish a violation of the

Eighth Amendment, and Defendants are entitled to qualified immunity.               See Chappell v.

Mandeville, 706 F.3d 1052, 1061-62 (9th Cir. 2013) (plaintiff’s placement on contraband watch

for 7 days in four point restraints, chained to a bed, and without a mattress was not a clear

violation of the Eighth Amendment); Smith v. Copeland, 87 F.3d 265, 269 & n. 3 (8th Cir. 1996)

(finding no violation when prisoner was confined to cell with overflowed toilet for four days);

Morissette v. Peters, 45 F.3d 1119, 1122–23 n.6 (7th Cir.1995) (plaintiff's confinement in

“filthy” cell for nine days without adequate cleaning supplies did not violate Eighth

Amendment); Harris v. Fleming, 839 F.2d 1232, 1235 (7th Cir. 1988) (no constitutional

violation found where prisoner was deprived of toilet paper for five days and soap, toothpaste

and toothbrush for ten days while being kept in a filthy, roach infested cell); Raybon, 2014 WL

3867433, *4-5 (16-day deprivation of toothbrush, toothpaste, soap, showers, and bedding during

a constant watch did not pose an excessive risk to inmate’s safety and was not Eighth

Amendment violation); Mendoza v. Blodgett, No. C–89–770–JMH, 1990 WL 263527, at *4–5

(E.D. Wash. Dec. 21, 1990), aff’d on other grounds, 960 F.2d 1425 (9th Cir.1992) (no

constitutional violation when prisoner on a feces watch was afforded minimal clothing in a dry

cell and watched while urinating and defecating). But cf. Taylor v. Riojas, 141 S. Ct. 52, ---




                                                 14
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 15 of 18                     PageID #: 305




(2020) (officers who placed inmate in a pair of “shockingly unsanitary cells” covered in human

waste and raw sewage for a period of six days were not entitled to qualified immunity).

       Additionally, Plaintiff cannot demonstrate that there is sufficient authority to “send a

clear signal” to a reasonable official that Defendants’ conduct falls below the constitutional

norm, and further that “an objectively reasonable official” in any Defendant’s position “would

have known that his conduct violated that rule of law.” Gray, 917 F.3d at 9-10 (quotation marks

omitted). Harris never complained about the conditions of his confinement to any Defendant

while he was on contraband watch and therefore Defendants would not have known their

conduct violated the Eighth Amendment, particularly in light of the contraband watch policies in

place. In summary, the record demonstrates that Defendants acted reasonably and therefore are

entitled to qualified immunity.

II.    Defendants are Entitled to Summary Judgment on Plaintiff’s Damages Claim.

       Pursuant to the Prison Litigation Reform Act, a prisoner’s relief in federal civil actions is

limited. See 42 U.S.C.A. § 1997e(e). Specifically, section 1997e(e) provides:

       No Federal civil action may be brought by a prisoner confined in a jail, prison, or
       other correctional facility, for mental or emotional injury suffered while in
       custody without a prior showing of physical injury or the commission of a sexual
       act (as defined in section 2246 of Title 18).

42 U.S.C.A. § 1997e(e).
       The First Circuit has yet to decide whether the limitation in section 1997e(e) on damages

applies to constitutional claims. See Kuperman v. Wrenn, 645 F.ed 69, 73 n.5 (1st Cir. 2011).

However, this Court has addressed the application of section 1997e(e) in the context of a

prisoner’s federal action alleging violations of the First Amendment and the Religious Land Use

and Institutionalized Persons Act.     Robinson v. Landry, No. 2:15-CV-58-DBH, 2015 WL

4077297, at *2 (D. Me. July 6, 2015). In the Robinson matter, this Court dismissed a prisoner’s



                                                15
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 16 of 18                      PageID #: 306




claim for damages where the prisoner sought relief for anxiety and emotional distress but had not

alleged a physical injury. Id.; see also Schoff v. Fitzpatrick, No. 2:16-CV-00609-NT, 2018 WL

1185499, at *9 (D. Me. Mar. 7, 2018), adopted, 2018 WL 4473093 (D. Me. Sept. 18, 2018)

(where this Court reasoned that although the First Circuit had not decided whether section

1997e(e) barred compensatory damages for constitutional claims, “persuasive authority suggests

that Plaintiff cannot recover monetary relief based on Plaintiff’s mental or emotional distress.”).

       In this matter, Plaintiff has not alleged or shown a physical injury sufficient to withstand

summary judgment on the issue of damages. Plaintiff suffered no physical injury and his

recovery is therefore limited. For the above reasons, Defendant respectfully moves for summary

judgment on Plaintiff’s claim of damages, as there exists no genuine issue of material fact.

Herman v. Holiday, 238 F.3d 660, 666 (5th Cir. 2001) (affirming summary judgment for

defendants on plaintiff’s Eighth Amendment conditions of confinement claim when plaintiff

alleged no physical injury from exposure to asbestos and “cold showers, cold food, unsanitary

dishes, insect problems, a lack of adequate clothing, and the presence of an open ‘cesspool’ near

the housing unit”).

                                         CONCLUSION

       For the reasons stated above, Defendants respectfully requests that the Court enter

summary judgment in their favor as to Plaintiff’s claim. In addition, Defendants move for

summary judgment on the issue of damages and respectfully submits that Plaintiff’s claim for

damages is barred by federal law.




                                                16
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 17 of 18     PageID #: 307




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                                     17
Case 1:19-cv-00346-LEW Document 45 Filed 12/28/20 Page 18 of 18                PageID #: 308




                                CERTIFICATE OF SERVICE


       I, Kimberly L. Patwardhan, hereby certify that on December 28, 2020, I electronically

filed the above document with the Clerk of Court using the CM/ECF system, and that a copy of

such filing was sent by First Class U.S. Mail to the following:


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                                                18
